Case 2:24-cv-09554-MCA-JBC           Document 1        Filed 10/01/24      Page 1 of 18 PageID: 1




   UNITED STATES DISTRICT COURT
   DISTRICT OF NEW JERSEY
   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
   NORBERTO VEGA, on behalf of himself and all :
   others similarly situated,                                             :
                                                                          :   Case No.: 24-9554
                                  Plaintiffs,                             :
                                                                          : CLASS ACTION COMPLAINT
                                  v.                                      : AND DEMAND FOR JURY TRIAL
                                                                          :
   RICHARD LONINGER DPM, P.C.,                                            :
                                 Defendant.                               :
                                                                          :
                                                                          :
                                                                          :
   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                                        INTRODUCTION
   1.     Plaintiff NORBERTO VEGA, on behalf of himself and others similarly situated,

          asserts the following claims against Defendant RICHARD LONINGER DPM,

          P.C., as follows.

   2.     Plaintiff is a visually-impaired and legally blind person who requires screen-

          reading software to read website content using his computer. Plaintiff uses the terms

          “blind” or “visually-impaired” to refer to all people with visual impairments who

          meet the legal definition of blindness in that they have a visual acuity with

          correction of less than or equal to 20 x 200. Some blind people who meet this

          definition have limited vision. Others have no vision.

   3.     Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in

          the United States are visually impaired, including 2.0 million who are blind.

   4.     Plaintiff brings this civil rights action against Defendant for its failure to design,

          construct, maintain, and operate its website to be fully accessible to and

          independently usable by Plaintiff and other blind or visually-impaired people.



                                                -1-
Case 2:24-cv-09554-MCA-JBC         Document 1        Filed 10/01/24      Page 2 of 18 PageID: 2




         Defendant’s denial of full and equal access to its website, and therefore denial of

         its goods and services offered thereby, is a violation of Plaintiff’s rights under the

         Americans with Disabilities Act (“ADA”).

   5.    Congress provided a clear and national mandate for the elimination of

         discrimination against individuals with disabilities when it enacted the ADA. Such

         discrimination includes barriers to full integration, independent living and equal

         opportunity for persons with disabilities, including those barriers created by

         websites and other public accommodations that are inaccessible to blind and

         visually impaired persons.

   6.    Because Defendant’s website, www.downtownnycfootcare.com (the “Website”), is

         not equally accessible to blind and visually impaired consumers, it violates the

         ADA. Plaintiff seeks a permanent injunction to cause a change in Defendant’s

         corporate policies, practices, and procedures so that Defendant’s website will

         become and remain accessible to blind and visually-impaired consumers.

                               JURISDICTION AND VENUE
   7.    This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

         and 42 U.S.C. § 12182, as Plaintiff’s claims arise under Title III of the ADA, 42

         U.S.C. § 12182, et seq.

   8.    Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because

         Defendant conducts and continues to conduct a substantial and significant amount

         of business in this District, and a substantial portion of the conduct complained of

         herein occurred in this District because Plaintiff attempted to utilize, on a number

         of occasions, the subject Website within this Judicial District.




                                              -2-
Case 2:24-cv-09554-MCA-JBC         Document 1       Filed 10/01/24      Page 3 of 18 PageID: 3




   9.    Defendant is subject to personal jurisdiction in this District. Defendant has been

         and is committing the acts or omissions alleged herein in the District of New Jersey

         that caused injury and violated rights the ADA prescribes to Plaintiff and to other

         blind and other visually impaired-consumers. A substantial part of the acts and

         omissions giving rise to Plaintiff’s claims occurred in this District: on several

         separate occasions, Plaintiff has been denied the full use and enjoyment of the

         facilities, goods and services offered to the general public, on Defendant’s Website

         in Hudson County. These access barriers that Plaintiff encountered have caused a

         denial of Plaintiff’s full and equal access multiple times in the past, and now deter

         Plaintiff on a regular basis from accessing the Defendant’s Website in the future.

   10.   The United States Department of Justice Civil Rights Division has recently

         provided “Guidance on Web Accessibility and the ADA.” It states in part, “the

         Department has consistently taken the position that the ADA’s requirements apply

         to all the goods, services, privileges, or activities offered by public

         accommodations, including those offered on the web.”

   11.   This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201

         and 2202.

   12.   This lawsuit is aimed at providing legally blind users like the Plaintiff a full and

         equal experience.

                                       THE PARTIES
   13.   Plaintiff NORBERTO VEGA, at all relevant times, is and was a resident of Hudson

         County, New Jersey.




                                              -3-
Case 2:24-cv-09554-MCA-JBC         Document 1        Filed 10/01/24      Page 4 of 18 PageID: 4




   14.   Plaintiff is a blind, visually-impaired handicapped person and a member of a

         protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2), and

         the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

   15.   Defendant is, and at all relevant times was, doing business in this jurisdiction.

   16.   Defendant’s Website, and its goods and services offered thereupon, is a public

         accommodation within the definition of Title III of the ADA, 42 U.S.C. § 12181(7).

                                             STANDING
   17.   Plaintiff NORBERTO VEGA is a blind, visually-impaired handicapped person and

         a member of a protected class of individuals under the ADA, under 42 U.S.C. §

         12102(1)-(2), and the regulations implementing the ADA set forth at 28 CFR §§

         36.101 et seq.

   18.   Consumers such as the Plaintiff may purchase Defendant’s products/services and

         access other brand related content and services at www.downtownnycfootcare.com

         (“Website”), the website Defendant owns, operates and controls.

   19.   Plaintiff was injured when he attempted multiple times, most recently on February

         6, 2024 to access Defendant’s Website from his home access Defendant’s Website

         from his home but encountered barriers that denied his full and equal access to

         Defendant’s online content and services.

   20.   Specifically, the Plaintiff wanted to make an appointment with a podiatry specialist.

   21.   Plaintiff’s desire to visit this clinic was due to the fact that he wanted to have a

         consultation with a specialist to address his current foot concerns and to get advice

         regarding foot care improvement.

   22.   This Website holds themselves out as the online platform of Downtown Foot Care

         practice. It is renowned for its advanced podiatric medical and surgical services.


                                              -4-
Case 2:24-cv-09554-MCA-JBC          Document 1         Filed 10/01/24       Page 5 of 18 PageID: 5




         They offer a range of treatments for foot and ankle conditions, including minimally

         invasive surgery and innovative non-surgical options for chronic pain. The practice

         is known for its expertise in treating a variety of foot conditions with a high rate of

         patient satisfaction. Therefore, Plaintiff desired to visit this clinic.

   23.   Due to Defendant’s failure to build the Website in a manner that is compatible with

         screen access programs, Plaintiff was unable to understand and properly interact

         with the Website and was thus denied the benefit of making an appointment in order

         to visit the clinic.

   24.   The law requires that the Defendant reasonably accommodate Plaintiff’s

         disabilities by removing these existing access barriers.

   25.   Plaintiff has been, and in absence of an injunction will continue to be injured by

         Defendant’s failure to provide its online content and services in a manner that is

         compatible with screen reader technology.

   26.   Because of Defendant’s denial of full and equal access to and enjoyment of the

         benefits and services of the Website, Plaintiff has suffered an injury in fact due to

         his inability to make an appointment, which is a concrete and particularized injury,

         and is a direct result of Defendant’s conduct.

   27.   Despite this direct harm and frustration, Plaintiff intends to attempt to access the

         Website in the future to utilize the services the Website offers, and more

         specifically to make an appointment, if remedied.

                                    NATURE OF ACTION
   28.   The Internet has become a significant source of information, a portal, and a tool for

         conducting business, doing everyday activities such as shopping, learning, banking,




                                                -5-
Case 2:24-cv-09554-MCA-JBC         Document 1        Filed 10/01/24    Page 6 of 18 PageID: 6




         researching, as well as many other activities for sighted, blind and visually-

         impaired persons alike.

   29.   In today’s tech-savvy world, blind and visually impaired people have the ability to

         access websites using keyboards in conjunction with screen access software that

         vocalizes the visual information found on a computer screen or displays the content

         on a refreshable Braille display. This technology is known as screen-reading

         software. Screen-reading software is currently the only method a blind or visually-

         impaired person may use to independently access the internet. Unless websites are

         designed to be read by screen-reading software, blind and visually-impaired

         persons are unable to fully access websites, and the information, products, goods

         and contained thereon.

   30.   Blind and visually-impaired users of Windows operating system-enabled

         computers and devices have several screens reading software programs available

         to them. Some of these programs are available for purchase and other programs are

         available without the user having to purchase the program separately. Job Access

         With Speech, otherwise known as “JAWS” is currently the most popular, separately

         purchased and downloaded screen-reading software program available for a

         Windows computer. Another popular screen-reading software program available

         for a Windows computer is NonVisual Desktop Access “NVDA”.

   31.   For screen-reading software to function, the information on a website must be

         capable of being rendered into text. If the website content is not capable of being

         rendered into text, the blind or visually-impaired user is unable to access the same

         content available to sighted users.




                                               -6-
Case 2:24-cv-09554-MCA-JBC         Document 1       Filed 10/01/24       Page 7 of 18 PageID: 7




   32.   The international website standards organization, the World Wide Web

         Consortium, known throughout the world as W3C, has published version 2.1 of the

         Web Content Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-

         established guidelines for making websites accessible to blind and visually-

         impaired people. These guidelines are universally followed by most large business

         entities and government agencies to ensure their websites are accessible.

   33.   Non-compliant websites pose common access barriers to blind and visually-

         impaired persons. Common barriers encountered by blind and visually impaired

         persons include, but are not limited to, the following:

                a.      A text equivalent for every non-text element is not provided;

                b.      Title frames with text are not provided for identification and

                navigation;

                c.      Equivalent text is not provided when using scripts;

                d.      Forms with the same information and functionality as for sighted

                persons are not provided;

                e.      Information about the meaning and structure of content is not

                conveyed by more than the visual presentation of content;

                f.      Text cannot be resized without assistive technology up to 200%

                without losing content or functionality;

                g.      If the content enforces a time limit, the user is not able to extend,

                adjust or disable it;

                h.      Web pages do not have titles that describe the topic or purpose;

                i.      The purpose of each link cannot be determined from the link text




                                              -7-
Case 2:24-cv-09554-MCA-JBC        Document 1      Filed 10/01/24      Page 8 of 18 PageID: 8




               alone or from the link text and its programmatically determined link

               context;

               j.      One or more keyboard operable user interface lacks a mode of

               operation where the keyboard focus indicator is discernible;

               k.      The default human language of each web page cannot be

               programmatically determined;

               l.      When a component receives focus, it may initiate a change in

               context;

               m.      Changing the setting of a user interface component may

               automatically cause a change of context where the user has not been advised

               before using the component;

               n.      Labels or instructions are not provided when content requires user

               input, which include captcha prompts that require the user to verify that he

               or she is not a robot;

               o.      In content which is implemented by using markup languages,

               elements do not have complete start and end tags, elements are not nested

               according to their specifications, elements may contain duplicate attributes,

               and/or any IDs are not unique;

               p.      Inaccessible Portable Document Format (PDFs); and,

               q.      The name and role of all User Interface elements cannot be

               programmatically determined; items that can be set by the user cannot be

               programmatically set; and/or notification of changes to these items is not

               available to user agents, including assistive technology.




                                            -8-
Case 2:24-cv-09554-MCA-JBC         Document 1        Filed 10/01/24      Page 9 of 18 PageID: 9




   34.   Websites have features and content that are modified on a daily, and in some

         instances hourly basis and a one time “fix” to an inaccessible digital platform will

         not cause the digital platform to remain accessible without a corresponding in

         change in corporate policies related to those web-based technologies. To evaluate

         whether an inaccessible website has been rendered accessible, and whether

         corporate policies related to website technologies have been changes in a

         meaningful manner that will cause the Website to remain accessible, the Website

         must be reviewed on a periodic basis using both automated accessibility screening

         tools and end user testing by disabled individuals.

                                 STATEMENT OF FACTS
   35.   Defendant is a company that owns and operates www.astepuppodiatry.com (its

         “Website”), offering features which should allow all consumers to access the

         services that Defendant offers, specifically in the State of New Jersey.

   36.   Defendant’s Website offers services online to the public. The Website offers

         features which ought to allow users to browse for services, access navigation bar

         descriptions, and avail consumers of the ability to peruse the numerous services and

         location of the Defendant.

   37.   Specifically, the Website offers users the ability to peruse the clinics services to

         make an appointment.

   38.   Plaintiff is a visually-impaired and legally blind person, who cannot use a computer

         without the assistance of screen-reading software. Plaintiff is, however, a proficient

         NVDA screen-reader user and uses it to access the Internet. Plaintiff has visited the

         Website multiple times, most recently on February 6, 2024 using a screen-reader.

   39.   Plaintiff intended to make an appointment with a podiatry specialist.


                                              -9-
Case 2:24-cv-09554-MCA-JBC          Document 1        Filed 10/01/24      Page 10 of 18 PageID: 10




    40.   Plaintiff’s interest to visit this clinic was due to the fact that he wanted to have a

          consultation with a specialist to address his current foot concerns and to get advice

          regarding foot care improvement

    41.   On     February      6,    2024,     Plaintiff    visited     Defendant’s      website,

          www.downtownnycfootcare.com, to make an appointment. Despite his efforts,

          however, Plaintiff was denied an experience similar to that of a sighted individual

          due to the website’s lack of a variety of features and accommodations, which

          effectively barred Plaintiff from having an unimpeded browsing experience.

    42.   The Website contains access barriers that prevent free and full use by the Plaintiff

          using keyboards and screen reading software. These barriers include but are not

          limited to: missing alt-text, hidden elements on web pages, incorrectly formatted

          lists, unannounced pop ups, unclear labels for interactive elements, and the

          requirement that some events be performed solely with a mouse.

    43.   Plaintiff could not navigate the website using the Tab key and due to the unclear

          labels of the interactive elements, he could not find any information about the clinic,

          and could not make an appointment.

    44.   These access barriers effectively denied Plaintiff the ability to use and enjoy

          Defendant’s website the same way sighted individuals do.

    45.   Plaintiff intends to visit the Website in the near future if it is made accessible.

    46.   It is, upon information and belief, Defendant’s policy and practice to deny Plaintiff,

          along with other blind or visually-impaired users, access to Defendant’s website,

          and to therefore specifically deny the goods and services that are offered to the

          general public. Due to Defendant’s failure and refusal to remove access barriers to




                                               -10-
Case 2:24-cv-09554-MCA-JBC         Document 1         Filed 10/01/24    Page 11 of 18 PageID: 11




          its website, Plaintiff and visually-impaired persons have been and are still being

          denied equal access to Defendant’s Website, and the numerous services and

          benefits offered to the public through the Website.

    47.   Due to the inaccessibility of Defendant’s Website, blind and visually-impaired

          customers such as Plaintiff, who need screen-readers, cannot fully and equally use

          or enjoy the facilities and services Defendant offers to the public on its website.

          The access barriers Plaintiff encountered have caused a denial of Plaintiff’s full and

          equal access in the past, and now deter Plaintiff on a regular basis from equal access

          to the Website.

    48.   If the Website were equally accessible to all, Plaintiff could independently navigate

          the Website and complete a desired transaction as sighted individuals do.

    49.   Through his attempts to use the Website, Plaintiff has actual knowledge of the

          access barriers that make these services inaccessible and independently unusable

          by blind and visually-impaired people.

    50.   Because simple compliance with the WCAG 2.1 Guidelines would provide Plaintiff

          and other visually-impaired consumers with equal access to the Website, Plaintiff

          alleges that Defendant has engaged in acts of intentional discrimination, including

          but not limited to the following policies or practices:

                 a.      Constructing and maintaining a website that is inaccessible to

                 visually-impaired individuals, including Plaintiff;

                 b.      Failure to construct and maintain a website that is sufficiently intuitive

                 so as to be equally accessible to visually impaired individuals, including

                 Plaintiff; and,




                                               -11-
Case 2:24-cv-09554-MCA-JBC           Document 1         Filed 10/01/24      Page 12 of 18 PageID: 12




                   c.       Failing to take actions to correct these access barriers in the face of

                   substantial harm and discrimination to blind and visually-impaired

                   consumers, such as Plaintiff, as a member of a protected class.

    51.    Defendant therefore uses standards, criteria or methods of administration that have the

           effect of discriminating or perpetuating the discrimination of others, as alleged herein.

    52.    The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this

           action. In relevant part, the ADA requires:

           In the case of violations of . . . this title, injunctive relief shall include an order to
           alter facilities to make such facilities readily accessible to and usable by individuals
           with disabilities . . . Where appropriate, injunctive relief shall also include requiring
           the . . . modification of a policy . . .

    42 U.S.C. § 12188(a)(2).

    53.    Because Defendant’s Website has never been equally accessible, and because

           Defendant lacks a corporate policy that is reasonably calculated to cause its Website

           to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and

           seeks a permanent injunction requiring Defendant to retain a qualified consultant

           acceptable to Plaintiff (“Agreed Upon Consultant”) to assist Defendant to comply

           with WCAG 2.1 guidelines for Defendant’s Website. Plaintiff seeks that this

           permanent injunction requires Defendant to cooperate with the Agreed Upon

           Consultant to:

                   a.       Train Defendant’s employees and agents who develop the Website

                   on accessibility compliance under the WCAG 2.1 guidelines;

                   b.       Regularly check the accessibility of the Website under the WCAG

                   2.1 guidelines;

                   c.       Regularly test user accessibility by blind or vision-impaired persons



                                                 -12-
Case 2:24-cv-09554-MCA-JBC          Document 1       Filed 10/01/24    Page 13 of 18 PageID: 13




                 to ensure that Defendant’s Website complies under the WCAG 2.1

                 guidelines; and,

                 d.      Develop an accessibility policy that is clearly disclosed on Defendant’s

                 Websites, with contact information for users to report accessibility-related

                 problems.

    54.   Although Defendant may currently have centralized policies regarding maintaining

          and operating its Website, Defendant lacks a plan and policy reasonably calculated

          to make them fully and equally accessible to, and independently usable by, blind

          and other visually-impaired consumers.

    55.   Defendant has, upon information and belief, invested substantial sums in

          developing and maintaining their Website and has generated significant revenue

          from the Website. These amounts are far greater than the associated cost of making

          their website equally accessible to visually impaired customers.

    56.   Without injunctive relief, Plaintiff and other visually-impaired consumers will

          continue to be unable to independently use the Website, violating their rights.

                              CLASS ACTION ALLEGATIONS
    57.   Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

          nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

          individuals in the United States who have attempted to access Defendant’s Website

          and as a result have been denied access to the equal enjoyment of goods and services,

          during the relevant statutory period.

    58.   Common questions of law and fact exist amongst the Class, including:

                 a.      Whether Defendant’s Website is a “public accommodation” under

                 the ADA;


                                              -13-
Case 2:24-cv-09554-MCA-JBC           Document 1         Filed 10/01/24       Page 14 of 18 PageID: 14




                 b.          Whether Defendant’s Website denies the full and equal enjoyment

                 of    its     products,   services,    facilities,   privileges,   advantages,   or

                 accommodations to people with visual disabilities, violating the ADA;

    59.   Plaintiff’s claims are typical of the Class. The Class, similarly to the Plaintiff, are

          severely visually impaired or otherwise blind, and claim that Defendant has

          violated the ADA by failing to update or remove access barriers on its Website so

          either can be independently accessible to the Class.

    60.   Plaintiff will fairly and adequately represent and protect the interests of the Class

          Members because Plaintiff has retained and is represented by counsel competent

          and experienced in complex class action litigation, and because Plaintiff has no

          interests antagonistic to the Class Members. Class certification of the claims is

          appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused

          to act on grounds generally applicable to the Class, making appropriate both

          declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

    61.   Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because

          fact and legal questions common to Class Members predominate over questions

          affecting only individual Class Members, and because a class action is superior to

          other available methods for the fair and efficient adjudication of this litigation.

    62.   Judicial economy will be served by maintaining this lawsuit as a class action in that

          it is likely to avoid the burden that would be otherwise placed upon the judicial

          system by the filing of numerous similar suits by people with visual disabilities

          throughout the United States.

                            FIRST CAUSE OF ACTION
                   VIOLATIONS OF THE ADA, 42 U.S.C. § 12182 et seq.



                                                 -14-
Case 2:24-cv-09554-MCA-JBC          Document 1         Filed 10/01/24     Page 15 of 18 PageID: 15




    63.    Plaintiff, on behalf of himself and the Class Members, repeats and realleges every

           allegation of the preceding paragraphs as if fully set forth herein.

    64.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

           No individual shall be discriminated against on the basis of disability in the full and
           equal enjoyment of the goods, services, facilities, privileges, advantages, or
           accommodations of any place of public accommodation by any person who owns,
           leases (or leases to), or operates a place of public accommodation.

    42 U.S.C. § 12182(a).

    65.    Defendant’s Website is a public accommodation within the definition of Title III of

           the ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the

           general public, and as such, must be equally accessible to all potential consumers.

    66.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

           deny individuals with disabilities the opportunity to participate in or benefit from

           the products, services, facilities, privileges, advantages, or accommodations of an

           entity. 42 U.S.C. § 12182(b)(1)(A)(i).

    67.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

           deny individuals with disabilities an opportunity to participate in or benefit from

           the products, services, facilities, privileges, advantages, or accommodation, which

           is equal to the opportunities afforded to other individuals. 42 U.S.C. §

           12182(b)(1)(A)(ii).

    68.    Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

           includes, among other things:

           [A] failure to make reasonable modifications in policies, practices, or procedures,
           when such modifications are necessary to afford such goods, services, facilities,
           privileges, advantages, or accommodations to individuals with disabilities, unless
           the entity can demonstrate that making such modifications would fundamentally
           alter the nature of such goods, services, facilities, privileges, advantages or



                                                -15-
Case 2:24-cv-09554-MCA-JBC          Document 1         Filed 10/01/24      Page 16 of 18 PageID: 16




           accommodations; and a failure to take such steps as may be necessary to ensure that
           no individual with a disability is excluded, denied services, segregated or otherwise
           treated differently than other individuals because of the absence of auxiliary aids
           and services, unless the entity can demonstrate that taking such steps would
           fundamentally alter the nature of the good, service, facility, privilege, advantage,
           or accommodation being offered or would result in an undue burden.

    42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

    69.    The acts alleged herein constitute violations of Title III of the ADA, and the

           regulations promulgated thereunder. Plaintiff, who is a member of a protected class

           of persons under the ADA, has a physical disability that substantially limits the

           major life activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A).

           Furthermore, Plaintiff has been denied full and equal access to the Website, has not

           been provided services that are provided to other patrons who are not disabled, and

           has been provided services that are inferior to the services provided to non-disabled

           persons. Defendant has failed to take any prompt and equitable steps to remedy its

           discriminatory conduct. These violations are ongoing.

    70.    Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

           incorporated therein, Plaintiff, requests relief as set forth below.

                                 SECOND CAUSE OF ACTION
                                   DECLARATORY RELIEF
    71.    Plaintiff, on behalf of himself and the Class Members, repeats and realleges every

           allegation of the preceding paragraphs as if fully set forth herein.

    72.    An actual controversy has arisen and now exists between the parties in that Plaintiff

           contends, and is informed and believes that Defendant denies, that its website

           contains access barriers denying blind customers the full and equal access to the

           products, services and facilities of its website, which Defendant owns, operates and




                                                -16-
Case 2:24-cv-09554-MCA-JBC         Document 1         Filed 10/01/24     Page 17 of 18 PageID: 17




          controls, fails to comply with applicable laws including, but not limited to, Title III

          of the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.

    73.   A judicial declaration is necessary and appropriate at this time in order that each of

          the parties may know their respective rights and duties and act accordingly.

                                    PRAYER FOR RELIEF
          WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

                 a.      A preliminary and permanent injunction to prohibit Defendant from

                 violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,

                 and the laws of New Jersey;

                 b.      A preliminary and permanent injunction requiring Defendant to take

                 all the steps necessary to make its website fully compliant with the

                 requirements set forth in the ADA, and its implementing regulations, so that

                 the Website is readily accessible to and usable by blind individuals;

                 c.      A declaration that Defendant owns, maintains and/or operates its

                 Website in a manner that discriminates against the blind and which fails to

                 provide access for persons with disabilities as required by Americans with

                 Disabilities Act, 42 U.S.C. §§ 12182, and the laws of New Jersey.

                 d.      An order certifying the Class under Fed. R. Civ. P.

                 23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative,

                 and his attorneys as Class Counsel;

                 e.      Payment of nominal damages;

                 f.      Pre- and post-judgment interest;

                 g.      An award of costs and expenses of this action together with

                 reasonable attorneys’ and expert fees; and


                                               -17-
Case 2:24-cv-09554-MCA-JBC           Document 1         Filed 10/01/24     Page 18 of 18 PageID: 18




                    h.      Such other and further relief as this Court deems just and proper.



                                 DEMAND FOR TRIAL BY JURY
             Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions

    of fact the Complaint raises.



    Dated:      Hackensack, New Jersey
                October 1, 2024

                                                   STEIN SAKS, PLLC

                                                   By: /s/ Rami Salim
                                                   Rami Salim, Esq.
                                                   rsalim@steinsakslegal.com
                                                   One University Plaza, Suite 620
                                                   Hackensack, NJ 07601
                                                   Tel: (201) 282-6500
                                                   Fax: (201) 282-6501
                                                   ATTORNEYS FOR PLAINTIFF




                                                 -18-
